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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:05CR199
                                              )
              Plaintiff,                      )
                                              )                    ORDER
              vs.                             )
                                              )
JOSUE MARTIN RODRIGUEZ-LOPEZ,                 )
                                              )
              Defendant.                      )


       This matter is before the Court on the Defendant’s motion for an extension of time

until February 21, 2006 (Filing No. 66), to file objections to the Magistrate Judge’s Report

and Recommendation (Filing No. 65).

       IT IS ORDERED:

       1.     The Defendant’s motion for an extension of time (Filing No. 66) to file

              objections to the Magistrate Judge’s Report and Recommendation is

              granted; and

       2.     The Defendant must file any objections to the Report and Recommendation

              on or before February 21, 2006.

       DATED this 9th day of February, 2006.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge
